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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO. CV 17-1230 JB-LF                  DATE: May 6, 2019

TITLE:        Lee v. University of New Mexico et al

COURTROOM CLERK: K. Gallegos                     COURT REPORTER: J. Bean

COURT IN SESSION: 9:01 AM – 9:21 AM TOTAL TIME: 20 MINUTES

TYPE OF PROCEEDING: RULE 16 INITIAL SCHEDULING CONFERENCE

ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
Arlyn Crow                                       Quentin Smith
Alana M. De Young
PROCEEDINGS:

9:01 am – Court calls case. Counsel enters their appearances. Arlyn Crow and Alana Young for

the Plaintiff and Quentin Smith for Defendant.

9:03 am – Court addresses parties on status of case and touches on possible revision of previous

order notes it has reviewed the parties JSR.

9:05 am – Mr. Crow addresses Court.

9:08 am – Court outlines schedule of deadlines and hearings. Discovery ends 9/3/19. Discovery

Motions 9/23/19. Plaintiff Experts 7/5/19. Defense Experts 8/5/19. Pretrial Motions 10/3/19. A

motion hearing will be set 11/6/19 @ 8:30 AM. Bench Trial 12/9/19 @ 9:00 AM. Pretrial

Conference 12/2/19 @ 8:30 AM. Pretrial Order Plaintiff 11/18/19. Pretrial Order Defendant

11/2919. Court notes supplementation under Rule 26(e) due within 14 days of discovery of need.

9:17 am – Mr. Smith believes it would be helpful if the order was revised. Court responds.

9:21 am - Court in recess.



The Honorable James O. Browning                  -Page 1-                         Clerk’s Minutes
